                                                                             Motion GRANTED.
                                                                             Hearing reset for
                         UNITED STATES DISTRICT COURT                        11/4/13 at 11:00 a.m.
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
                                             )
       v.                                    )    No. 3:10-00163-25
                                             )    Judge Trauger
                                             )
RODNEY BRITTON                               )


                          MOTION TO CONTINUE HEARING

       Comes Rodney Britton, through counsel, and requests that the hearing currently

scheduled for Thursday, June 20, 2013, be continued. As grounds, counsel states as

follows:

       1. Mr. Britton was scheduled for a hearing in state court on Thursday, June 6, 2013.

According to Mr. Britton, and the Case Search Results from the Criminal Court Clerk

website of Metropolitan Nashville and Davidson County, his state case was bound over on

June 6, 2013.

       2. Assistant United States Attorney Scarlett Singleton has no opposition to this

request for a continuance.

                                           Respectfully submitted,

                                           s/ C. Douglas Thoresen
                                           C. DOUGLAS THORESEN (BPR #004012)
                                           Assistant Federal Public Defender
                                           810 Broadway, Suite 200
                                           Nashville, TN 37203
                               CERTIFICATE OF SERVICE

       I hereby certify that on June 19, 2013, I electronically filed the foregoing Motion to
Continue Hearing with the clerk of the court by using the CM/ECF system, which will send
a Notice of Electronic Filing to the following: Scarlett M. Singleton, Assistant United States
Attorney, 110 Ninth Avenue South, Suite A961, Nashville, TN 37203.


                                           s/ C. Douglas Thoresen
                                           C. DOUGLAS THORESEN



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